    Case 21-30571     Doc 9   Filed 10/26/21 Entered 10/26/21 18:36:55       Desc Main
                                 Document    Page 1 of 1



                                             Certificate Number: 02998-NCW-DE-022298471

                                                          Bankruptcy Case Number: 21-30571




                Certificate of Debtor Education

I CERTIFY that on 10/23/2021, at 2:58 pm Eastern Time, Donn S. Terry completed a course

on personal financial management given by internet by Consumer Education Services, Inc.,

DBA Start Fresh Today/DBA Affordable Bankruptcy Course, a provider approved pursuant to

11 U.S.C. § 111 to provide an instructional course concerning personal financial

management in the western district of North Carolina.




                                               By:      s/Angela Zinnerman


                                               Title: Certified Credit Counselor


                                               Date: 10/25/2021


*Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of c
ounseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, development through
the credit counseling agency. See 11 U.S.C. §§ 109 (h) and 521 (b).
